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11

12                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13

14   NICHIA CORP.,                                        Case No. 2:18-cv-01390-DOC-RAOx
15
           Plaintiff,                                     NOTICE OF MOTION AND JOINT
16                                                        AND UNOPPOSED MOTION FOR
                  v.
17                                                        A PARTIAL STAY
     FEIT ELECTRIC CO., INC.,
18

19         Defendant,                                     Hearing Date: June 3, 2019
                                                          Hearing Time: 8:30 a.m.
20                and                                     Courtroom: 9th Floor, 9D
21                                                        Judge: David O. Carter
     UNITY MICROELECTRONICS, INC.
                                                          Complaint Filed: February 20, 2018
22                                                        Trial Date: December 17, 2019
           Intervenor-Defendant.
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 1
     FEIT ELECTRIC CO., INC.
 2
         Third-Party Plaintiff,
 3

 4             v.
 5   SEOUL SEMICONDUCTOR CO.,
 6
     LTD., LUMILEDS LLC, AND LG
     INNOTEK HUIZHOU CO., LTD.,
 7
         Third-Party Defendants.
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                NOTICE OF MOTION AND JOINT AND UNOPPOSED MOTION FOR A PARTIAL STAY;
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 1
           Plaintiff Nichia Corporation, Defendant Feit Electric, third-party Intervenor Unity

 2   Microelectronics, and third-party defendants Seoul Semiconductor Co., Ltd., Lumileds
 3
     LLC and LG Innotek Huizhou Co., Ltd (collectively, the “Parties”) hereby by agreement
 4

 5   or without opposition respectfully move for a partial stay of this matter as set forth below.

 6         This is a patent infringement action brought by Plaintiff Nichia Corporation
 7
     (“Nichia”) against Feit Electric based on patents relating to the manufacture and design
 8

 9   of what are commonly referred to as “LED Packages.” LED Packages are used in LED

10   lighting products, such as LED lamps.
11
           Feit Electric is a seller and distributor of LED lighting products. Feit Electric,
12

13   however, does not manufacture or design the LED Packages used in its products. Feit

14   Electric sources its LED Packages from the a number of suppliers, including suppliers
15
     such as Unity Microelectronics (“Unity”), Seoul Semiconductor Co., Ltd. (“SSC”),
16

17   Lumileds LLC (“Lumileds”) and LG Innotek Huizhou Co., Ltd (“LGITHZ”), among
18   others. For this reason, Feit Electric sought to have its suppliers intervene or otherwise
19
     defend Feit Electric in this litigation.
20

21         Unity intervened, but SSC, Lumileds, and LGITHZ did not. As a result, Feit
22   Electric also brought third-party complaints against SSC, Lumileds, and LGITHZ seeking
23
     indemnification and defense.
24

25         The Parties have engaged in various motions and cross-motions, and have been
26   assisted in these proceedings by Hon. Irma Gonzalez as Special Master. More recently,
27
     at least two entities, Lumileds and SSC have begun separate arbitrations proceedings with
28
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 1
     Nichia involving the LED packages at issue here. As a result, Nichia stipulated it was no

 2   longer pursuing, and the Court ultimately dismissed, all claims by Nichia as to Feit
 3
     Electric products with Lumileds LED Packages. Similarly, Nichia formerly sought a stay
 4

 5   as to its allegations with respect to Feit Electric products with SSC components; Feit

 6   Electric opposed that request and the request was denied. Feit Electric believes that
 7
     dismissal of such products is warranted and thus has brought a motion seeking the same
 8

 9   (see Dkt. 198).

10         In the interim, the Parties have met and conferred and agreed that a stay as to
11
     Nichia’s remaining claims against Feit Electric may further assist in resolution of some or
12

13   all of the outstanding issues in the dispute between Nichia and Feit Electric. Specifically,

14   it would allot adequate time for the Parties to engage in discussions and a possible
15
     mediation process in an attempt to resolve all of the claims at issue.
16

17         A district court’s power to stay proceedings is well-established and “incidental to
18   the power inherent in every court to control the disposition of the causes on its docket
19
     with economy of time and effort for itself, for counsel, and for litigants.” Alter v. Walt
20

21   Disney Co., No. CV 16-06644 SJO (Ex), 2016 WL 9455627, *2 (C.D. Cal.) (quoting
22   Shipley v. U.S., 608 F.2d 770, 775 (9th Cir. 1979)). The Court has “broad discretion” to
23
     decide whether a stay is warranted. Clinton v. Jones, 520 U.S. 681, 706 (1997). When
24

25   deciding whether to grant a stay, “the competing interests which will be affected by the
26   granting or refusal to grant a stay must be weighed” by the Court as follows: “[1] the
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     possible damage which may result from the granting of a stay, [2] the hardship or
28
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     inequity which a party may suffer in being required to go forward, and [3] the orderly

 2   course of justice measured in terms of the simplifying or complicating of issues, proof,
 3
     and questions of law which could be expected to result from a stay.” Alter, 2016 WL
 4

 5   9455627, *2 (quoting CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)).

 6         These factors weigh in favor of a stay in this case.          The various concurrent
 7
     proceedings and anticipated discussions, including through mediation, will potentially
 8

 9   simplify the issues and streamline the matter. The stay will further reduce the burden of

10   litigation on the parties and on the Court as certain issues, like claim construction, to
11
     which the Court and the parties would have to devote substantial resources, but that
12

13   ultimately might be unnecessary (or further limited) through discussions at mediation.

14   And, there is no prejudice here as the Parties jointly seek or otherwise do not oppose the
15
     sought stay as to the claims between Nichia and Feit Electric.
16

17         Therefore, as is set forth in the attached order, the Parties believe that the interests
18   of judicial economy and efficiency would be served by staying this action as follows:
19
              • Nichia’s affirmative claims and Feit Electric’s corresponding defenses,
20

21                except as set forth herein, shall be stayed pending the anticipated discussion
22                and potential mediation process;
23
              • Nichia and Feit Electric agree to participate in direct discussions, including,
24

25                if necessary, a mediation, at a mutually agreeable date and time in an effort
26
                  to resolve this dispute;
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 1          • absent earlier, independent resolution of claims relating to Unity or

 2             LGITHZ, Unity and LGITHZ agree to also participate, as needed, in direct
 3
               discussions and any mediation between Nichia and Feit Electric as to those
 4

 5             products at issue with each entity’s respective components. To that end,

 6             Unity and LGITHZ agree that each will have a representative with
 7
               settlement authority participate in the direction discussions and any
 8

 9             mediation session on a mutually agreeable date(s);

10          • the stay does not and shall not apply to Feit Electric’s pending and fully
11
               briefed motion seeking dismissal with prejudice of Nichia claims against
12

13             Feit Electric products incorporating SSC LED packages (Dkt. 198 and
14             corresponding filings);
15
            • the stay does not and shall not apply to Feit Electric’s third-party impleader
16

17             complaints against Lumileds, LGITHZ, and Seoul Semiconductor; however,
18
               the parties shall remain open to the possibility of resolution of these claims
19
               through direct discussions, mediation, and/or a similarly agreed upon
20

21             process; and
22
            • the stay shall not preclude Feit Electric from impleading further third-party
23

24
               suppliers whose participation may be required as a result of a duty to defend

25             or indemnify, nor shall the stay prevent any such entity from intervening
26
               based on a duty to defend or indemnify.
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           All parties, including the Intervenor Defendant and third-party Defendants, were

 2   consulted regarding this motion. Intervenor Unity and third-party Defendant LGITHZ do
 3
     not oppose. Third party Defendants Lumileds and SSC, while not in agreement with all
 4

 5   statements herein, also do not oppose the requested stay. Accordingly Plaintiff Nichia

 6   and Defendant Feit Electric respectfully and submit this motion for partial stay as set
 7
     forth above.
 8

 9   Dated: April 30, 2019

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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on April 30, 2019, I electronically filed the foregoing JOINT
 3   AND UNOPPOSED MOTION FOR A PARTIAL STAY with the Clerk of Court using
 4   CM/ECF, which will send notification via electronic means to the counsel of record
 5   believed to be:
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